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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 JOHN AND JANE DOES 1-9, et al.,

                  Plaintiffs,

         v.                                               Civil Action No. 25-0325 (JMC)

 DEPARTMENT OF JUSTICE,

                  Defendant.


 FEDERAL BUREAU OF INVESTIGATION
 AGENTS ASSOCIATION, et al.,

                  Plaintiffs,
                                                          Civil Action No. 25-0328 (JMC)
         v.

 DEPARTMENT OF JUSTICE, et al.,

                  Defendants.


                                     [PROPOSED] ORDER

        Upon review of the consolidated Plaintiffs’ Motion for Expedited Discovery, Exhibit A,

and Supporting Memorandum of Law, the Court hereby GRANTS the Plaintiffs’ Motion.

        Defendants are ordered to respond to Plaintiffs’ discovery requests, as detailed in Exhibit

A to the Plaintiffs’ Motion and Memorandum, no later than five (5) calendar days after the date of

Plaintiffs’ filing.



SO ORDERED:


_______________________                                      ______________________________
Dated                                                        JIA M. COBB
                                                             United States District Judge
